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                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   11/19/2021
                                                                                                   CT Log Number 540618410
TO:         Kim Lundy- Email
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Georgia

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 Re: MATHNEY ANGELA as parent and/or gaurdian of SERINITY WILLIAMS // To:
                                                 Wal-Mart Stores East, LP
DOCUMENT(S) SERVED:                              Attachment, Summons, Complaint, Certificate, First Interrogatories, First
                                                 Request(s)
COURT/AGENCY:                                    State Court of Forsyth County, GA
                                                 Case # 21SC1458A
NATURE OF ACTION:                                Personal Injury - Slip/Trip and Fall - 02/02/2020, Store #556, at 2425 Memorial
                                                 Drive, Waycross, Georgia 31503
ON WHOM PROCESS WAS SERVED:                      The Corporation Company (FL), Cumming, GA
DATE AND HOUR OF SERVICE:                        By Process Server on 11/19/2021 at 14:00
JURISDICTION SERVED :                            Georgia
APPEARANCE OR ANSWER DUE:                        Within 30 days after service, exclusive of the day of service (Document(s) may
                                                 contain additional answer dates)
ATTORNEY(S) / SENDER(S):                         John S. O'Briant
                                                 Law Office of Johnny Phillips, PC
                                                 12 Jackson Street
                                                 Newnan, GA 30263
                                                 404-487-0184
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 11/19/2021, Expected Purge Date:
                                                 11/24/2021

                                                 Image SOP

REGISTERED AGENT ADDRESS:                        The Corporation Company (FL)
                                                 106 Colony Park Drive
                                                 STE 800-B
                                                 Cumming, GA 30040
                                                 877-564-7529
                                                 MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                   Page 1 of 2 / EC
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    11/19/2021
                                                                                                    CT Log Number 540618410
TO:         Kim Lundy- Email
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Georgia

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 2 of 2 / EC
                ",SHERIFFS ENTRYCase   2:21-cv-00256-SCJ
                                OF SERVICE                                      Document 1-2 Filed 11/30/21 Page 3CLYDE
                                                                                     SC-8512                        of CASTLEBERRY
                                                                                                                         55        CO., COVINGTON,GA 30015

                                                                                             Superior Court   LI        Magistrate Court                LI
                   Civil Action No.            (                                             State Court      LI       Probate Court                    LI
                                                                                             Juvenile Court   LI
                   Date Filed                                                                             Georgia,                                               COUNTY


                   Attorney's Address

                                                                                                                                                                        Plaintiff
                                                                                                                                          VS.
                                                                                                                                                             /   I

                   Name and Address of Party to be Served.

                                                                                                                                                                     Defendant




                                                                                                                                                                     Garnishee
                                                                           SHERIFF'S ENTRY OF SERVICE
 PERSONAL




                   I have this day served the defendant                                                                                                  personally with a copy
              0 of the within action and summons.



                   I have this day served the defendant                                                                                                               by leaving a
 NOTORIOUS




                   copy of the action and summons at his most notorious place of abode in this County.

              0 Delivered same into hands of                                                                                                              described as follows:
                   age, about                years; weight                 pounds; height, about                      feet and             inches, domiciled at the residence of
                   defendant.


ZO                                                                          - k       ,         0, ,
                   Served the defendant                                                                                                                              a corporation
c
<C,  0 by
 r ,,r                leaving a copy of the within action and summons with             N         LCs,           )j-ck-Vt
o
                   in charge of the office and place of doing business of said Corporation in this County.
cc
0
TACK & MAIL




                I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises designated in said
                affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an envelope properly addressed to the
              0
                defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
                place stated in the summons.




cn              Diligent search made and defendant
              0 not to be found in the jurisdiction of this Court.
0


                   This 1.1 day of           NO4                  , 20   Z. .

                                                                                                                                                                       DEPUTY




                  SHERIFF DOCKET                   PAGE

                                                                  WHITE-CLERK     CANARY-PLAINTIFF   PINK-DEFENDANT
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                                                                                             EFILED IN OFFICE
                 STATE COURT OF FORSYTH COUNTY                                             CLERK OF STATE COURT
                                                                                         FORSYTH COUNTY, GEORGIA
                        STATE OF GEORGIA
                                                                                           21SC-1458-A
                                                                                    Judge Leslie Abernathy-Maddox
                                                                                        OCT 05, 2021 03:22 PM

                                                                                                     OW,
                                                                                                    FonATillria2:t




                        CIVIL ACTION NUMBER 21SC-1458-A
   Williams, Serenity

   PLAINTIFF
                                  VS.
   WALMART STORES EAST LP, DBA Wal-
   Mart Supercenter #556

   DEFENDANT


                                           SUMMONS
   TO: WALMART STORES EAST LP

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiffs attorney, whose name and address is:

                             John O'Briant
                             Law Office of Johnny Phillips - John
                             12 Jackson Street
                             NEWNAN,Georgia 30263

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so,judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 5th day of October, 2021.
                                                   Clerk of State Court




                                                                      Greg G. Allen, Clerk
                                                                  Forsyth County, Georgia




                                                                                       Page 1 of!
       Case 2:21-cv-00256-SCJ Document 1-2 Filed 11/30/21 Page 5 of 55

                                                                                           EFILED IN OFFICE
                                                                                         CLERK OF STATE COURT
                                                                                       FORSYTH COUNTY, GEORGIA
                                                                                        21SC-1458-A
                      IN THE STATE COURT OF FORSYTH COUNTY                         Judge Leslie Abernathy-Maddoy
                                                                                       OCT 05, 2021 03:22 PM
                                 STATE OF GEORGIA

      ANGELA MATHNEY as parent and/or                                                                    Greg G. Allem Clerk
                                                                                                     Forsyth County. Georgia
      gaurdian of SERINITY WILLIAMS,

             Plaintiff,                             CIVIL ACTION
      VS.

                                                    FILE NO.:
      WAL-MART STORES EAST,LP,
      d/b/a WAL-MART SUPERCENTER                          JURY TRIAL DEMANDED
      #556, JOHN DOE & XYZ
      CORPORATION

             Defendants.

                                COMPLAINT FOR DAMAGES

        COMES NOW ANGELA MATHNEY AS PARENT AND/OR GAURDIAN OF

 SERINITY WILLIAMS,Plaintiff in the above styled action and files this Complaint for

 Damages and shows the Court as follows:

                                                   1.

        Defendant WAL-MART STORES EAST,LP d/b/a WAL-MART STORE #556

(hereinafter,"Wal-Mart") is a foreign profit corporation existing under the laws of Delaware,

 whose principal office address is 708 SW 8th Street, Bentonville, AR 72716, who, at all times

 relevant to this action, owned and/or operated the premises upon which ANGELA MATHNEY

 AS PARENT AND/OR GAURDIAN OF SERINITY WILLIAMS (hereinafter, "Plaintiff')

 sustained the injuries which form the basis of this action, and maintained an office and place of

 doing business in Ware County, GA,located at 2425 Memorial Drive, Waycross, and is subject

 to the jurisdiction of this Court as a joint tortfeasor. Defendant WAL-MART STORES EAST,

 LP may be served through its registered agent, The Corporation Company(FL), at 106 Colony

Park Drive Ste. 800-B, Cumming,GA 30040. Venue is proper.
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                                                     2.

        Defendant XYZ Corporation (hereinafter,"XYZ Corporation") occupied the position of

 the unknown vendor of the premises where the subject incident occurred, and at all times

 relevant to this action, was acting within the scope of employment for defendant on the premises

 where Plaintiff sustained the injuries which form the basis of this action and whose acts and/or

 omissions are believed to have contributed to Plaintiff's claims for damages and is subject to the

jurisdiction and venue of this Court.

                                                     3.

        Defendant JOHN DOE,(hereinafter,"Doe") is an unidentified individual who, at all

 times relevant to this action, was acting within the scope of employment for Defendant WAL-

 MART STORES EAST,LP and/or XYZ Corporation on the premises where Plaintiff sustained

 the injuries which form the basis of this action and whose acts and/or omissions contributed to

Plaintiffs damages and is subject to the jurisdiction and venue of this Court.

                                         BACKGROUND

                                                5.

        On or about February 2, 2020, Plaintiff was upon the premises of Wal-mart Store #556

(hereinafter, "the store") located at 2425 Memorial Dr, Waycross, GA 31503, a business owned

 and/or operated by Defendant Wal-Mart and/or XYZ Corporation, as an invitee.

                                                6.

        Plaintiff, through no failure to exercise reasonable care for her own safety, was walking in

 and/or near the store premises and was injured as a result of slipping on a wet, slick and/or

 hazardous substance.




                                                                                                    2
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                                                  7.

        There were no warning signs in the area where the wet, slick and/or hazardous substance

was present, and Plaintiff's incident occurred.

                                                  8.

        Defendant Wal-Mart and/or XYZ Corporation had exclusive ownership, possession and

control over the store at all times relevant to this action.

                                                  9.

        As a result of Plaintiffs fall, she suffered bodily injury.

                                          COUNT I
                                     PREMISES LIABILITY

                                                  10.

       Plaintiff realleges and incorporates the allegations contained in paragraphs 1 through 9

above as if fully stated herein.

                                                  11.

       Plaintiff was an invitee on the store premises at the time of the incident.

                                                  12.

       Defendant Wal-Mart and/or XYZ Corporation owed a nondelegable duty of reasonable

care in keeping the store premises safe for invitees such as Plaintiff.

                                                  13.

       Plaintiff did not know and could not reasonably have learned of the danger posed by the

wet, slick and/or hazardous substance without proper notice or warning.

                                                  14.

       Defendant Wal-Mart and/or XYZ Corporation had actual and/or constructive knowledge

ofthe existence ofthe hazard, knew or should have known that the presence ofthe wet, slick and/or

                                                                                                  3
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hazardous substance posed a danger to invitees on the store premises, and should have notified or

warned invitees about this hazard.

                                                15.

       Defendant Wal-Mart and/or XYZ Corporation was negligent in failing to properly inspect

the area where the incident occurred, in failing to remedy the presence of the wet, slick and/or

hazardous substance, in failing to take adequate measures to protect invitees, and in failing to keep

the premises safe for invitees.

                                 COUNT II
             LIABILITY OF DEFENDANTS WAL-MART STORES EAST,LP,
                       XYZ CORPORATION AND JOHN DOE

                                                16.

       Plaintiff realleges and incorporates the allegations contained in paragraphs 1 through 15

above as if fully stated herein.

                                                17.

       At all times relevant to this action, Defendant Wal-Mart, Defendant XYZ Corporation and

Defendant Doe had a duty to reasonably inspect, clean and maintain the area where Plaintiffs

incident occurred.

                                                18.

       Defendant Wal-Mart, Defendant XYZ Corporation and Defendant Doe negligently failed

to inspect, clean and maintain the area where Plaintiffs Serinity Williams fall occurred and

negligently failed to take reasonable measures to ensure the safety of invitees on the premises and

warn invitees such as Plaintiff of the presence of wet, slick and/or hazardous substance.




                                                                                                   4
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                                        COUNT III
                                   VICARIOUS LIABILITY

                                                19.

        Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

18 above as if fully restated.

                                                20.

        At all times relevant to this action, Defendant Doe, and other individuals responsible for

inspecting, cleaning and maintaining the area where the Plaintiff's incident occurred were

employed by Defendant Wal-Mart and/or XYZ Corporation and were acting within the scope of

their employment.

                                                21.

        Defendant Wal-Mart and/or XYZ Corporation is responsible for the conduct of these

individuals under the doctrine of Respondeat Superior, agency or apparent agency.

                                   COUNT IV
                    NEGLIGENT HIRING,TRAINING & SUPERVISION

                                               22.

       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

21 above as if fully restated.

                                               23.

       Defendants were negligent in failing to adopt appropriate policies and procedures to make

sure that invitees receive appropriate notice or warning of hazardous conditions on the store

premises and in failing to train their employees concerning safety procedures for maintaining the

store premises.




                                                                                                  5
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                                                 24.

       Defendants were negligent in hiring, training and supervising their staff.

                                                 25.

       As a direct and proximate result of the individual and joint negligence of Defendants,

Plaintiff suffered bodily injuries, lost wages, and medical expenses, in an amount TBD.

      Provider:                                                 Dates of Service:         Amount:

 1.   Appling Pediatrics                                        TBD                       $ TBD

 2.   Bacon County Hospital                                     TBD                       $ TBD

 3.   Bone ad Joint Institute of South Georgia                  TBD                       $ TBD

                                                 26.


       As a direct and proximate result of the Defendants' negligence, Plaintiff is entitled to an

award of special damages for medical expenses and lost wages in an amount to be shown at trial,

and general damages in an amount to be determined by this court against the Defendants, all in an

amount TBD.

       WHEREFORE,Plaintiff prays as follows:

       a) That process be issued, and the Defendants be served with process as provided by law;

       b) That Plaintiff have a trial by jury on all issues so triable;

       c) That Plaintiff have a verdict and judgment against the Defendants to compensate

          Plaintifffor all special, general, compensatory and consequential damages in an amount

           proven at trial to be adequate and just;

       d) That all costs be cast against the Defendants; and

       e) That this Court grant such other and further relief as it deems appropriate.



                                                                                                6
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         Respectfully submitted this 5th day of October, 2021.

                                         /s/John S. 0'Briant
                                         Johnny G. Phillips
                                         Georgia State Bar No. 382150
                                         John S. O'Briant III
                                         Georgia State Bar No. 133201
                                         Attorney for Plaintiff


Law Office of Johnny Phillips,PC
12 Jackson Street
Newnan, Georgia 30263
P:(404)487-0184
F:(404)439-1190
Johnnyjohrumhillipslaw.com
Jobriant(&johnnyphillipslaw.com




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                                                                                         EFILED IN OFFICE
                                                                                       CLERK OF STATE COURT
                                                                                     FORSYTH COUNTY, GEORGIA
                                                                                       21SC-1458-A
                     IN THE STATE COURT OF FORSYTH COUNTY                        Judge Leslie Abernathy-Maddox
                                                                                     OCT 05, 2021 03:22 PM
                                STATE OF GEORGIA
                                                                                                  OW,
                                                                                                For:thmgcLitklyi.eaLgtet
     ANGELA MATHNEY as parent and/or
     gaurdian of SERINITY WILLIAMS,

            Plaintiff,                                 CIVIL ACTION
     VS.
                                                      FILE NO.:
     WAL-MART STORES EAST,LP, cVb/a
     WAL-MART SUPERCENTER #556,
     JOHN DOE & XYZ CORPORATION,

            Defendants.

                RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

       I HEREBY CERTIFY that I have served a copy ofPlaintiff's First Interrogatories, Request
to Produce Documents and Request for Admissions to Defendant Wal-Mart Stores East,LP upon
all parties in this matter by including a true and correct copy of same which is to be served
contemporaneously with the complaint and summons by a Deputy ofthe Sheriff's Office or other
proper Process Server, as approved by the Georgia Civil Practice Act, who is to effectuate service
at the following address:

                                   Wal-Mart Stores East, LP
                              RA: The Corporation Company(FL)
                               106 Colony Park Drive Ste. 800-B
                                     Cumming, GA 30040


       Respectfully submitted this 5th day of October, 2021.



                                            /s/John S. 0'Briant
                                            Johnny G. Phillips
                                            Georgia State Bar No. 382150
                                            John S. O'Briant III
                                            Georgia State Bar No. 133201
                                            Attorney for Plaintiff


Law Office of Johnny Phillips, PC
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12 Jackson Street
Newnan, Georgia 30263
P:(404)487-0184
F:(404)439-1190
Johnny@johnnyaillipslaw.com
Jobriant johnnvphillipslaw.com
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                       IN THE STATE COURT OF FORSYTH COUNTY

                                STATE OF GEORGIA
      ANGELA MATHNEY as parent and/or
      gaurdian of SERINITY WILLIAMS,

              Plaintiff,                                  CIVIL ACTION
      VS.
                                                          FILE NO.:
      WAL-MART STORES EAST, LP, d/b/a
      WAL-MART SUPERCENTER #556,
      JOHN DOE & XYZ CORPORATION,

              Defendants.

                PLAINTIFF'S FIRST INTERROGATORIES TO
     DEFENDANT WAL-MART STORES EAST,LP d/b/a WAL-MART STORE #556

        COMES NOW, Plaintiff in the above styled action and hereby requires that Defendant

 WAL-MART STORES EAST, LP d/b/a WAL-MART STORE #556 (hereinafter, "Wal-Mart

 Stores East, LP") answer under oath and in writing the following interrogatories within forty-five

(45) days from the date of service, i.e. the time provided for response pursuant to 0.C.G.A. § 9-

 11-33, and that a copy of the answers be furnished to the Plaintiff's attorney, Law Offices of

 Johnny Phillips, Attn: John S. O'Briant III, 12 Jackson Street, Newnan, Georgia 30263.

                                          I. INSTRUCTIONS

        NOTE A:            When used in these interrogatories, the phrase "Defendant", "individual in

 question","you" or any synonym thereof are intended to and shall embrace and include, in addition

 to Defendant Wal-Mart Stores East, LP individually, its attorneys, agents, servants, employees,

 representatives, private investigators, insurance adjusters, and all others who are in possession of,

 in control of, or may have obtained information for or on behalf of Defendant Wal-Mart Stores

 East, LP.
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        NOTE B:        Throughout these interrogatories, wherever Defendant Wal-Mart Stores

East, LP is requested to identify a communication of any type and such communication was oral,

the following information should be furnished with regard to each such communication:

      (a)      By whom it was made, and to whom;

      (b)      The date upon which it was made;

      (c)      Who else was present when it was made;

      (d)      Whether it was recorded or described in any writing of any type and, if so,

identification of each such writing in the manner indicated in Note C below.

       NOTE C:         Throughout these interrogatories, wherever Defendant Wal-Mart Stores

East, LP is requested to identify a communication,letter, document,memorandum,report or record

of any type and such communication was written, the following information should be furnished:

      (a)      A specific description ofits nature (e.g., whether it is a letter, a memorandum,etc.);

      (b)      By whom it was made and to whom it was addressed;

      (c)      The date it was made; and

      (d)      The name and address of the present custodian of the writing or, if not known, the

name and address of the present custodian of a copy thereof

       NOTE D:        Throughout these interrogatories, wherever Defendant Wal-Mart Stores

East, LP is requested to identify a person, the following information should be furnished:

      (a)      The person's full name;

      (b)      His or her present home and business address and telephone number at each

address;

      (c)      His or her occupation; and

      (d)      His or her place of employment.
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        NOTE E:        These interrogatories shall be deemed continuing to the extent required by

law. You are required to (1) seasonably supplement any response directed to the identity and

location ofpersons having knowledge ofdiscoverable matters as well as the identity ofeach person

expected to be called as a witness at trial, the subject matter on which he or she is expected to

testify and the substance of his or her testimony;(2)amend any prior response if you subsequently

learn that the original response is no longer true and the circumstances are such that a failure to

amend the response is, in substance a knowing concealment; and (3) provide such other

supplementary responses required by law.

                                   II. INTERROGATORIES

                                                 1.

       State the full name, address, title and position ofthe person answering these interrogatories

and, if different, state the full name, address, employer, title and position of the person verifying

the answer to these interrogatories, as well as the full name, address or last known address,

employer, title and position ofeach person consulted by the person preparing your answers to these

interrogatories.

                                                 2.

       State the name and address of any person, including any party, who, to your knowledge,

information or belief was an eyewitness to the incident complained of in this action; has some

knowledge of any fact or circumstance upon which your defense is based; and has conducted any

investigation relating to the incident complained of or the background, employment, medical

history or activities of Plaintiff SERENITY WILLIAMS.
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                                                 3.

        State the full name, address or last known address, employer, title and position of each

person not named in response to Interrogatory No. 2 who was present or claims to have been

present at the scene immediately before or immediately after Plaintiff's incident.

                                                4.

       To your knowledge, information or belief, has any person identified in your answer to

Interrogatory No. 2 and/or 3 given any statement or report in connection with this action? If so,

describe such statement or report and give the name and address ofthe person having custody and

control thereof.

                                                5.

       Please identify each and every witness or employee who, at the time of the incident, was

in the vicinity of the area of the where the subject incident occurred in the Wal-mart Store #556,

located at 2425 Memorial Drive

Waycross, GA 31503 and owned by Defendant Wal-Mart Stores East, LP (hereinafter,"the store")

where Plaintiff's incident occurred. In regard to each such employee, please state the individual's

name, address, telephone number, shift worked, and job duties.

                                                6.

       State whether there is or was in existence any policy of liability insurance that would or

might inure to the benefit of Plaintiff, by providing for payment of a part or all of any judgment

rendered in favor of Plaintiff against the Defendants by reason of the incident described in the

complaint, and if the answer is in the affirmative, state as to each such policy of insurance known

or believed to exist by you the name and address of the insurer on each such policy; the name and

address of each named insured on each such policy; the relationship, if any, between each named
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insured on each such policy and the defendant; the policy number of each such policy; the name

and address of any person who may be an additional insured under such policy by reason of the

incident described in the complaint, and the relationship, if any, between such additional insured

and the defendants in this case; and the limits of liability in such policy as might be applied to

Plaintiff by reason of any one accident.

                                                7.

       Please identify any entity or person with any financial interest, lease or ownership interest

in the premises on which Plaintiffs incident occurred on or about February 2, 2020.

                                                8.

       State whether you, your attorneys, or agents thereof have any statement, or any notes or

memoranda of any statements, from any witness or person who claims to have witnessed or has

knowledge or claims to have knowledge of Plaintiff's incident, including any statement made by

Plaintiff

                                                9.

       State whether any movies, videotapes or other photographs or other recordings were taken

of Plaintiff or of the scene of the incident at any time prior, during or subsequent to the time of

Plaintiffs incident. If so, state the date of each such movie, videotape, photograph or recording;

the name, address or last known address, employer, title and position of each person who took or

had control over each such movie, videotape, photograph or recording; and the name, address or

last known address, employer, title and position of each person having possession of each such

movie, videotape, photograph or other recording or any negative thereof
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                                                10.

       Has any other personal injury or slip and fall accident occurred in the store, either during

the five (5) years preceding Plaintiffs incident, or any time during or after the date of Plaintiffs

incident? If so, for each such accident or personal injury, state the date and time it occurred; a

brief description of how it occurred; the name, or other means ofidentification and address ofeach

person involved in each such occurrence; the location at which it occurred; and any remedial

actions taken by Defendant Wal-Mart Stores East, LP subsequent to each occurrence.

                                                1 1.

       At the time of Plaintiffs incident, did Defendant Wal-Mart Stores East, LP have any

procedures in place, written or unwritten, formal or informal, for the inspection, cleaning and

maintenance of the premises complained of, specifically the subject department of the store? If

so, state the name, address, employer and position of each person having custody of each such

written procedures. For all such procedures, whether written or oral, describe the manner in which

they were communicated,the names and addresses or last known addresses of all persons to whom

they were communicated; and the name, address, employer, title and position of each person who

had knowledge of said procedures prior to the time of Plaintiffs incident.

                                                12.

       Was Defendant Wal-Mart Stores East, LP or any of its representatives notified orally, in

writing, or otherwise of Plaintiffs incident? If so, state whether Defendant Wal-Mart Stores East,

LP was informed ofthe fall by someone other than an employee ofsaid Defendant, and if so, state

the name, address or last known address, employer, title and position and phone number of each

person who informed Defendant Wal-Mart Stores East, LP and the date on which the information

was received. Additionally, state whether there is or was any record of the receipt of such
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 information, and if so, state the name, address or last known address, employer, title and position

 of each such person and agency in possession of such records, and the title or other identification

 or description of the content of such record.

                                                 13.

        State whether Defendant Wal-Mart Stores East, LP made any changes in its procedures for

 the inspection, cleaning and maintenance of its premises subsequent to Plaintiffs incident. If so,

 state in detail what changes were made.

                                                 14.

        Please identify (in accordance with Instruction Note D) each person working on the

 premises with any duties for the area where this incident occurred on February 2, 2020.

                                                 15.

        Has any insurer referred to above denied coverage or reserved its right to later deny

 coverage under any such policy of liability insurance? If so, please explain.

                                                 16.

        Do you contend that Plaintiff caused or contributed to the incident in question? If so, state

 with particularity each and every contention made in this regard.

                                                 17.

        If Defendant Wal-Mart Stores East, LP has been a party to any personal injury lawsuit

(other than this suit) please describe each such suit, specifying the nature of the case, the date of

 each such suit, the court in which it was brought, the county and state in which the case was filed,

the names of other parties to each such suit and the ultimate disposition ofeach such suit, whether

by judgment, settlement or otherwise.
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                                                 18.

        Please identify each person whom you expect to call as an expert witness at trial. State the

subject matter on which such expert is expected to testify and state the substance of the facts and

opinions to which the expert is expected to testify and the summary ofthe grounds ofeach opinion.

                                                 19.

       If Defendant Wal-Mart Stores East, LP has retained or employed an expert in anticipation

of litigation or preparation for trial and expect to call such expert as a witness at trial, please

identify and state specifically the name and address of each such expert.

                                                 20.

       Did Defendant Wal-Mart Stores East, LP or any person on said Defendant's behalf, after

learning of wet, slick and/or hazardous substance take any action to remove or remedy the hazard,

or to warn invitees of its presence?

                                                 21.

       Please describe Plaintiff's incident, including any and all incidents and occurrences leading

to Plaintiff's incident and/or wet, slick and/or hazardous substance near the area where the subject

incident occurred and Defendant Wal-Mart Stores East, LP subsequent actions following

Plaintiffs incident through and including the time when Plaintiff left the subject premises on

February 2, 2020.

                                                22.

       State the name, address, employer, title and position of each person who was scheduled to

work at the time of Plaintiff's incident and for each such person, state a brief description of their

employment duties on said date; the employment relationship between said employee and

Defendant Wal-Mart Stores East, LP; a description of any training said employee had in
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preparation for said employment upon the premises where Plaintiff's incident occurred; whether

said employee witnessed Plaintiff's incident; what said employee claims to have seen or heard at

the time of, during, or after Plaintiff's incident; and whether said employee gave a statement, either

oral or written, to Defendant Wal-Mart Stores East, LP or any representative of said defendant

regarding Plaintiff's incident.

                                                 23.

       Describe all records that were made or kept which reflect the inspection, cleaning and

maintenance of the premises complained of and in particular the subject area of the store, and for

each such record, state the title or other identification of each such record, a description of the

content of each such record, and the name, address or last known address, employer, title and

position of each person having custody of such records.

                                                 24.

       Please state in detail any policies and procedures concerning the inspection, cleaning or

maintenance of the area where the subject incident occurred.

                                                25.

       Please state what action(s), performance and/or maintenance was required to correct and/or

repair the area complained of.

                                                26.

       Please state the number of times the area of Plaintiff's incident was inspected prior to the •

Plaintiff's incident on or about February 2, 2020.

                                                27.

       State when the last time the area of Plaintiff's incident was inspected prior to Plaintiff's

incident.and identify (in accordance with Instruction Note D)who conducted such inspection.
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                                                28.

        Have there ever been any complaints made about the area where this incident occurred? If

so, please state the date(s) of each complaint, the person(s) making each complaint, the nature of

each complaint, and any action taken as a result of each complaint.

                                                29.

        Were there any contracts or agreements with other individuals or entities regarding the

maintenance, inspection or security of the property where the Plaintiffs incident occurred as

described in the complaint? If so, state the identity of the contracting parties, the address and

telephone number of the contracting parties, and the duties of the contracting parties.

                                                30.

        Please describe any inspection procedures utilized in regard to the area where this incident

occurred.

                                                31.

        Please state whether Defendant Wal-Mart Stores East, LP, as named in the Plaintiff's

Complaint, is the correct party to defend this action, and identify (in accordance with Instruction

Note D)any and all proper parties to defend this action.

                                                32.

        If Defendant Wal-Mart Stores East, LP or anyone acting on its behalf has knowledge of

Plaintiffs incident, please describe Plaintiffs incident, including all actions taken by Defendant

Wal-Mart Stores East, LP relevant to the area complained of for one hour before and after the

Plaintiff's incident.


Respectfully submitted this 5th day of November, 2021.
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                                   /s/John S. O'Briant III
                                   John S. O'Briant III
                                   Georgia State Bar No. 133201
                                   Attorney for Plaintiff

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                       IN THE STATE COURT OF FORSYTH COUNTY
                                 STATE OF GEORGIA
     ANGELA MATHNEY as parent and/or
     gaurdian of SERINITY WILLIAMS,

              Plaintiff,                                 CIVIL ACTION
     VS.
                                                         FILE NO.:
     WAL-MART STORES EAST,LP, d/b/a
     WAL-MART SUPERCENTER #556,
     JOHN DOE & XYZ CORPORATION,

              Defendants.

      PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
  TO DEFENDANT WAL-MART STORES EAST,LP d/b/a WAL-MART STORE #556

        COMES NOW, Plaintiff in the above-styled civil action, and files this Request for

Production of Documents to Defendant WAL-MART STORES EAST, LP d/b/a WAL-MART

STORE #556 (hereinafter, "Wal-Mart Stores East, LP") pursuant to 0.C.G.A. Section 9-11-34.

Defendant is required to comply with said Code section and produce a true and correct copy of

each of the following documents to Plaintiff's attorney, Law Office of Johnny Phillips, PC, Attn:

John S. O'Briant III, 12 Jackson Street, Newnan, Georgia 30263, forty-five(45)days from the date

of service.

                                         I. INSTRUCTIONS

       Plaintiffrequests that, along with the production of documents, a written response be made

detailing the documents produced and any documents covered by these requests which Defendant

Wal-Mart Stores East, LP objects to producing.

       NOTE A:             These requests are continuous and should be supplemented if additional

information is received at a later date.

       NOTE B:             When used in these requests, the phrase "Defendant", "individual in

question","you" or any synonym thereofare intended to and shall embrace and include, in addition
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to Defendant Wal-Mart Stores East, LP individually, its attorneys, agents, servants, employees,

representatives, private investigators, insurance adjusters, and all others who are in possession of,

in control of, or may have obtained information for or on behalf of said Defendant.

        NOTE C:         If documents requested are not in Defendant Wal-Mart Stores East, LP

possession, please state as follows:

       (1)      name of person who has possession or knowledge of whereabouts;

       (2)      business address of such;

       (3)      business telephone number of such.

        NOTE D:         If you claim that a privilege applies to any document sought by this request,

then state the factual and legal basis for the claimed privilege and identify the document(by date,

author, recipient, general subject matter) so that it can be described in a motion to compel.

                      II. REQUESTS FOR PRODUCTION OF DOCUMENTS

                                                  1.

        Please produce any and all insurance policies providing coverage for the incident

complained of in Plaintiff's Complaint.

                                                 2.

        Please produce any and all statements taken from any persons who witnessed or claimed

to have witnessed Plaintiff's incident.

                                                 3.

       Please produce any and all statements, notes or memoranda of any statements from any

persons having knowledge or claiming to have knowledge of Plaintiff's incident or Plaintiff's

resulting injuries.
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                                                4.

        Please produce any and all movies, videotapes or other photographs or other recordings of

Plaintiffs incident and/or the scene of Plaintiff's incident, which were taken at any time prior,

during or subsequent to Plaintiff's incident.

                                                5.

        Produce any e-mail, interoffice correspondence, memoranda, report, telephone log,

message or other documents concerning Plaintiff.

                                                6.

       Please produce any and all documentation of any other personal injuries and slip and fall

accidents at the Wal-Mart Stores East, LP,located at 2425 Memorial Drive, Waycross, GA 31503

and owned by Defendant Wal-Mart Stores East, LP and/or XYZ Corporation (hereinafter, "the

store").

                                                7.

       Please produce any and all guidelines, manuals, memoranda or other documents evidencing

any policy or procedure concerning the inspection, cleaning or maintenance of the area where this

incident occurred.

                                                8.

       Please produce any and all policy and procedure manuals given to the Defendants'

employees regarding inspection, cleaning, and maintenance on the premises ofthe store.

                                                9.

       Please produce any and all documentation of Plaintiffs incident which is in Defendant

Wal-Mart Stores East, LP possession, including, but not limited to said Defendant's first notice of

Plaintiffs incident.
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                                                   10.

        Please produce any and all reports, whether written or otherwise recorded, made by any

expert or experts who has been retained or otherwise employed by Defendant Wal-Mart Stores

East, LP in anticipation of litigation or preparation for trial in this action.

                                                  1 1.

        Please produce all surveillance movies, photographs, recordings or other visual

documentation which have been made of Plaintiff.

                                                  12.

       Please produce any and all documents reflecting any change in procedure responsive to

Plaintiffs Interrogatory No. 13.

                                                  13.

       Please produce all records of inspection, cleaning and/or maintenance of the store for 24

hours prior to and subsequent to Plaintiffs incident and all documents responsive to Plaintiffs

Interrogatory Nos. 26 and 27.

                                                  14.

       Please produce any daily, weekly, monthly or annual inspection reports or audits or any

other inspection, cleaning and/or maintenance reports for the area where this incident occurred for

the past five years.

                                                  15.

       Please produce any documents obtained through third party requests and subpoenas.

                                                  16.

       Please produce all documents identifying Defendant Wal-Mart Stores East, LP employees

on the premises of the store for the day of the incident and the one-week periods prior to and
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subsequent to the incident.

                                                17.

        Please produce any correspondence, memoranda, report, record or other documents

concerning,referencing or depicting any complaints identified in response to Interrogatory No. 28.

                                                18.

        Please produce any maps, schematics, diagrams, drawings or other similar documents

showing the layout of the area where the subject incident occurred.

                                               19.

        Produce any and all leases or contracts with outside contractors or agencies for

performance of maintenance services in the area where Plaintiff's incident occurred.

                                               20.

        Please produce any invoices, records, proposals, work orders, maintenance records or other

documents for work performed in the area where this incident occurred in the last five years.

                                               21.

        Please produce all surveillance movies, photographs, recordings or other visual

documentation which have been made of the area of Plaintiff's incident on or about February 2,

2020.

                                               22.

        Please produce any and all documents, evidence of writing, or any other tangible thing

which Defendant Wal-Mart Stores East, LP or anyone on said Defendant's behalf referred to in

any form or fashion in answering or attempting to answer Plaintiff's First Interrogatories to

Defendant Wal-Mart Stores East, LP.

Respectfully submitted this 5th day of November, 2021.
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                                    /s/John S. O'Briant III

                                    John S. O'Briant III
                                    Georgia State Bar No. 133201
                                    Attorney for Plaintiff

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                      IN THE STATE COURT OF FORSYTH COUNTY
                                 STATE OF GEORGIA
      ANGELA MATHNEY as parent and/or
      gaurdian of SERINITY WILLIAMS,

             Plaintiff,                                 CIVIL ACTION
      VS.
                                                        FILE NO.:
      WAL-MART STORES EAST, LP, d/b/a
      WAL-MART SUPERCENTER #556,
      JOHN DOE & XYZ CORPORATION,

             Defendants.

             PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO
      DEFENDANT WAL-MART STORES EAST,LP d/b/a WAL-MART STORE #556

        In compliance with 0.C.G.A. § 9-11-36, the Defendant WAL-MART STORES EAST,LP

d/b/a WAL-MART STORE #556 (hereinafter, "Wal-Mart Stores East, LP"), is required to admit

the truth of the separately listed matters of fact, and the genuineness of the attached documents

forty-five (45) days after service of this request. As required by statute, Defendant Wal-Mart

Stores East, LP is required to respond to this request in writing.

        Defendant Wal-Mart Stores East, LP is specifically reminded that the separately listed

statements of facts are deemed admitted unless, within forty-five (45) days after service of this

First Request for Admissions to Defendant Wal-Mart Stores East, LP, said Defendant serves a

written answer, or objection, addressed to each fact.

        This request for admissions is subject to and is deemed to include and incorporate the

following definitions:

                                       I. DEFINITIONS

 1.     As used herein, the word "document" shall mean,in addition to its common meaning, the

original and all copies of any writing or record of every type and description, however produced

or reproduced, including, but without limitation, correspondence, contracts, proposals,
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memoranda, tapes, stenographic or handwritten notes, studies, publications, minutes, books,

pamphlets, pictures, drawings, photographs, films, microfilms, voice or sound recordings,

magnetic recordings, maps, reports, surveys, statistical compilations, tax returns, financial

statements, accounting or other financial papers,invoices, receipts, checks, check stubs, accounts,

deposit slips, ledgers, calendars, diaries, appointment books, time-keeping records, computer or

electronic mail message ("e-mail"), and expense account records.

2.       The word "person" means any individual, partnership, corporation, division, firm,

business or other entity.

3.       As used herein,the phrases "relating to" and "relate to" shall be construed in their broadest

sense and shall mean describing, setting forth, discussing, mentioning, commenting upon,

supporting, contradicting, or referring to the subject or topic in question, whether in whole or in

part.

4.       As used herein, the phrase "refer to" and "reference" shall be construed in their broadest

sense and shall mean describing, setting forth, discussing, mentioning, commenting upon,

supporting, contradicting, or referring to the subject or topic in question, whether in whole or in

part.

5.       As used herein, the word "all" shall be deemed to include and encompass the words

"each," "every" and "any."
                                                                                          L

6.       With regard to the terms defined herein, all terms in the singular shall include the plural,

and all terms used in the plural shall include the singular.

7.       The conjunction "and/or" shall be interpreted in every instance both conjunctively and

disjunctively.

8.       As used herein, the phrase "the store" means the premises on which Plaintiff's subject
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 incident occurred, specifically the premises located at 2425 Memorial Drive

 9.       Waycross, GA 31503 and owned by Defendant Wal-Mart Stores East, LP.

                                         II. ADMISSIONS

                                                   1.

        On or about February 2, 2020, Defendant Wal-Mart Stores East, LP was on notice that a

wet, slick and/or hazardous substance was present in the store.

                                                   2.

        Defendant Wal-Mart Stores East, LP should have warned invitees of the wet, slick and/or

hazardous substance which was present in the area where the subject incident occurred on February

2,2020.

                                                   3.

       Defendant Wal-Mart Stores East, LP negligently failed to warn its invitees ofthe hazardous

condition which was present on the premises complained of in Plaintiffs Complaint.

                                                   4.

       Defendant Wal-Mart Stores East, LP failed to properly maintain the area where Plaintiffs

incident occurred so as to be safe for invitees.

                                                   5.

       Defendant Wal-Mart Stores East, LP failed to inspect the area where Plaintiff's incident

occurred for at least fifteen minutes prior to the Plaintiffs incident.

                                                   6.

       An employee of Defendant Wal-Mart Stores East, LP caused the presence ofthe wet, slick

and/or hazardous substance in the area where Plaintiff's incident occurred.
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                                                 7.

       Defendant Wal-Mart Stores East, LP negligently failed to properly train its employees

concerning safety procedures and inspecting, cleaning, and maintaining the premises.

                                                 8.

       Defendant Wal-Mart Stores East, LP negligently failed to adopt or enforce safety policies

and procedures to protect invitees from hazardous conditions such as those which caused

Plaintiff's incident on February 2, 2020.

                                                 9.

       On or about February 2, 2020, Plaintiff's fall was directly caused by the presence of a wet,

slick and/or hazardous substance.

                                                10.

       The Plaintiff's incident was not the fault of any person not a party to this lawsuit.

                                                1 1.

       The Plaintiff did not contribute to causing the incident in any manner.

                                                12.

       The incident which gives rise to this suit was directly caused by the joint negligence of

Defendants.

                                                13.

      The incident which gives rise to this suit was directly caused by the negligence of this

   Defendant.

                                                14.

       The Plaintiff sustained injuries as a direct result ofthe incident which occurred on or about

February 2, 2020.
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                                               15.

       The Plaintiff experienced pain and suffering as a direct result of the incident which

occurred on or about February 2, 2020.

                                               16.

       The Plaintiff is entitled to recover damages from Defendant Wal-Mart Stores East, LP for

her personal injuries.

                                               17.

       The Plaintiff is entitled to recover from Defendant Wal-Mart Stores East, LP for her

reasonable and necessary medical expenses and lost wages.

                                               18.

       The Plaintiff's medical expenses and lost wages itemized in her Complaint and served

contemporaneously with these requests are reasonable and necessary.

                                               19.

       Defendant Wal-Mart Stores East, LP has been properly served with process in this action.

                                              20.

       Defendant Wal-Mart Stores East, LP is subject to the jurisdiction and venue of this court.



Respectfully submitted this 5th day of November, 2021.



                                            /s/John S. O'Briant III
                                            John S. O'Briant III
                                            Georgia State Bar No. 133201
                                            Attorney for Plaintiff

Law Office of Johnny Phillips, PC
12 Jackson Street
Newnan, Georgia 30263
      Case 2:21-cv-00256-SCJ Document 1-2 Filed 11/30/21 Page 36 of 55




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                                                                                     CLERK OF STATE COURT
                                                                                   FORSYTH COUNTY, GEORGIA
                                                                                     21SC-1458-A
                      IN THE STATE COURT OF FORSYTH COUNTY                     Judge Leslie Abernathy-Maddox
                                 STATE OF GEORGIA                                  NOV 08, 2021 09:57 AM


ANGELA MATHNEY, as parent    )
And/or guardian of           )
SERENITY WILLIAMS,           )
                             )
                 Plaintiff,  )
                             )
v.                           ) CIVIL ACTION NO.: 21SC-1458-A
                             )
WAL-MART STORES EAST, LP )
d/b/a WAL-MART SUPERCENTER)
#556, JOHN DOE AND XYZ       )
CORPORATION,                 )
                             )
                 Defendants. )

                                 ENTRY OF APPEARANCE

       COMES NOW Ernest L. Beaton, IV of the law firm of McLain & Merritt, P.C. and

enters an appearance as attorney of record for the Defendant Wal-Mart Stores East, LP d/b/a

Wal-Mart Supercenter #556. Copies of all correspondence and pleadings should be directed to

Ernest L. Beaton, IV at McLain & Merritt, P.C., 3445 Peachtree Road, NE, Suite 500, Atlanta,

Georgia 30326. Clerk will please forward all notices and calendars to Ernest L. Beaton, IV.

                                                   McLAIN & MERRITT, P.C.


                                                   /s/ Ernest L. Beaton, IV
                                                   Ernest L. Beaton, IV
                                                   Georgia Bar No. 213044
                                                   Attorney for Defendant
3445 Peachtree Road, NE
Suite 500
Atlanta, GA 30326
(404) 266-9171
ebeaton@mmatllaw.com
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                                  CERTIFICATE OF SERVICE

       This is to certify that on this day, I electronically filed ENTRY OF APPEARANCE

with the Clerk of Court using the Peachcourt efile system which will automatically send email

notification of such filing to attorneys of record.

       This the 8th day of November, 2021.

                                                      McLAIN & MERRITT, P.C.


                                                      /s/ Ernest L. Beaton, IV
                                                      Ernest L. Beaton, IV
                                                      Georgia Bar No. 213044
                                                      Attorney for Defendant
3445 Peachtree Road, NE
Suite 500
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                                                                            CLERK OF STATE COURT
                                                                          FORSYTH COUNTY, GEORGIA
                                                                           21SC-1458-A
                 IN THE STATE COURT OF FORSYTH COUNTY              Judge Leslie Abernathy-Maddox
                                                                       NOV 17, 2021 01:10 PM
                            STATE OF GEORGIA

ANGELA MATHNEY as parent and/or,                  Civil Action File No.
guardian of SERINITY WILLIAMS,                    21SC-1458-A

             Plaintiff,
v.

WALMART STORES EAST, LP
D/B/A WALMART #556,
JOHN DOE AND XYZ CORPORATION,

             Defendants.
                            /


      ANSWER OF DEFENDANT WAL-MART STORES EAST, LP D/B/A
                       WALMART #556

      COMES NOW, Defendant WAL-MART STORES EAST, LP D/B/A

WALMART #556 and makes this Answer to Plaintiff's Complaint as follows:

                                 FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which

relief can be granted.

                                SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused

by Plaintiff's and Ms. Williams’s own contributory negligence and failure to

exercise ordinary care.



                                                                               Page -1-
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                                 THIRD DEFENSE

      Plaintiff and Ms. Williams were not in the exercise of ordinary care for her

own safety in the premises, and by the exercise of ordinary care could have

avoided any injury to herself; and on account thereof, Plaintiff is not entitled to

recover from Defendant.

                                FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that

any negligent act or omission on its part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff or Ms. Williams.

                                 FIFTH DEFENSE

      Plaintiff and Ms. Williams assumed the risk of any hazard that was

presented and is thereby barred from recovering against Defendant.

                                 SIXTH DEFENSE

      Plaintiff’s Complaint should be dismissed due to improper process and

service of process.

                               SEVENTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:




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                                       1.

      Defendant denies the allegations contained in paragraph 1 of the Plaintiff's

Complaint.

                                       2.

      Defendant denies the allegations contained in paragraph 2 of the Plaintiff's

Complaint.

                                       3.

      Defendant denies the allegations contained in paragraph 3 of the Plaintiff's

Complaint.

                                       4.

      There is no paragraph 4 of Plaintiff’s Complaint. To the extent a

paragraph 4 exists, Defendant denies the allegations contained in paragraph 4 of

Plaintiff’s Complaint.

                                       5.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 5 of Plaintiff's Complaint, which are

accordingly deemed denied.




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                                       6.

      Defendant denies the allegations contained in paragraph 6 of the Plaintiff's

Complaint.

                                       7.

      Defendant denies the allegations contained in paragraph 7 of the Plaintiff's

Complaint.

                                       8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.

                                       9.

      Defendant denies the allegations contained in paragraph 9 of the Plaintiff's

Complaint.

                                       10.

      Defendant restates and incorporates herein by reference its answers and

responses to paragraphs 1 through 9 of Plaintiff’s Complaint above as if fully

stated herein.




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                                     11.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 11 of Plaintiff's Complaint, said

allegation is therefore denied.

                                     12.

      Defendant denies the allegations contained in paragraph 12 of the

Plaintiff's Complaint.

                                     13.

      Defendant denies the allegations contained in paragraph 13 of the

Plaintiff's Complaint.

                                     14.

      Defendant denies the allegations contained in paragraph 14 of the

Plaintiff's Complaint.

                                     15.

      Defendant denies the allegations contained in paragraph 15 of the

Plaintiff's Complaint.




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                                      16.

      Defendant restates and incorporates herein by reference its answers and

responses to paragraphs 1 through 15 of Plaintiff’s Complaint above as if fully

stated herein.

                                      17.

      Defendant denies the allegations contained in paragraph 17 of the

Plaintiff's Complaint.

                                      18.

      Defendant denies the allegations contained in paragraph 18 of the

Plaintiff's Complaint.

                                      19.

      Defendant restates and incorporates herein by reference its answers and

responses to paragraphs 1 through 18 of Plaintiff’s Complaint above as if fully

stated herein.

                                      20.

      Defendant denies the allegations contained in paragraph 20 of the

Plaintiff's Complaint.




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                                      21.

      Defendant denies the allegations contained in paragraph 21 of the

Plaintiff's Complaint.

                                      22.

      Defendant restates and incorporates herein by reference its answers and

responses to paragraphs 1 through 21 of Plaintiff’s Complaint above as if fully

stated herein.

                                      23.

      Defendant denies the allegations contained in paragraph 23 of the

Plaintiff's Complaint.

                                      24.

      Defendant denies the allegations contained in paragraph 24 of the

Plaintiff's Complaint.

                                      25.

      Defendant denies the allegations contained in paragraph 25 of the

Plaintiff's Complaint.

                                      26.

      Defendant denies the allegations contained in paragraph 26 of the

Plaintiff's Complaint.



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                                       27.

       All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                       28.

       Defendant denies Plaintiff's prayer for relief, including subparagraphs a),

b), c), d) and e) thereof.

       WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed

with all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A

JURY OF TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                      McLAIN & MERRITT, P.C.

                                      /s/ Ernest L. Beaton, IV
                                      Ernest L. Beaton, IV
                                      Georgia Bar No. 213044
                                      Attorneys for Defendant
3445 Peachtree Road, N.E.
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Atlanta GA 30326
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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART STORES EAST, LP has this day been filed and

served upon opposing counsel via Peachcourt.

      This the 17th day of November, 2021.

                                    McLAIN & MERRITT, P.C.

                                    /s/ Ernest L. Beaton, IV
                                    Ernest L. Beaton, IV
                                    Georgia Bar No. 213044
                                    Attorney for Defendant

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(404) 266-9171
ebeaton@mmatllaw.com




                                                                          Page -9-
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                                                                       CLERK OF STATE COURT
                                                                     FORSYTH COUNTY, GEORGIA
                                                                         21SC-1458-A
                        IN THE STATE COURT OF FORSYTH COUNTY
                                                         Judge Leslie Abernathy-Maddox
                                                             NOV 17, 2021 01:10 PM
                                   STATE OF GEORGIA

ANGELA MATHNEY as parent and/or
guardian of SERENITY WILLIAMS,                   Civil Action File No.
                                                 21SC-1458-A
           Plaintiff,
v.

WAL-MART STORES EAST, LP d/b/a
WAL-MART SUPERCENTER #556,
JOHN DOE & XYZ CORPORATION,

           Defendants.
                             /

                                 12-PERSON JURY DEMAND

      COMES NOW Defendant, WAL-MART STORES EAST, LP d/b/a WAL-

MART SUPERCENTER #556 and demands a trial by a jury of twelve (12)

persons.


                                     McLAIN & MERRITT, P.C.

                                     /s/ Ernest L. Beaton, IV
                                     Ernest L. Beaton, IV
                                     Georgia Bar No. 213044
                                     Attorneys for Defendant
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ebeaton@mmatllaw.com
      Case 2:21-cv-00256-SCJ Document 1-2 Filed 11/30/21 Page 49 of 55




                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing 12-PERSON JURY

DEMAND has this day been filed and served upon opposing counsel via

Peachcourt E-File.

      This the 17th day of November, 2021.

                                    McLAIN & MERRITT, P.C.



                                    /s/ Ernest L. Beaton, IV
                                    Ernest L. Beaton, IV
                                    Georgia Bar No. 213044
                                    Attorney for Defendant
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                                                              CLERK OF STATE COURT
                                                            FORSYTH COUNTY, GEORGIA
                                                              21SC-1458-A
                                                         Judge Leslie Abernathy-Maddox
                                                             NOV 22, 2021 09:55 AM
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                                                                                                    CLERK OF STATE COURT
                                                                                                  FORSYTH COUNTY, GEORGIA
                                                                                                    21SC-1458-A
                                    IN THE STATE COURT OF FORSYTH COUNTY                      Judge Leslie Abernathy-Maddox
                                                                                                  OCT 05, 2021 03:22 PM
                                               STATE OF GEORGIA

                  ANGELA MATHNEY as parent and/or
                  gaurdian of SERINITY WILLIAMS,

                           Plaintiff,                              CIVIL ACTION
                  vs.
                                                                   FILE NO.:
                  WAL-MART STORES EAST, LP, d/b/a
                  WAL-MART SUPERCENTER #556,
                  JOHN DOE & XYZ CORPORATION,

                           Defendants.

                               RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

                    I HEREBY CERTIFY that I have served a copy of Plaintiff’s First Interrogatories, Request
             to Produce Documents and Request for Admissions to Defendant Wal-Mart Stores East, LP upon
             all parties in this matter by including a true and correct copy of same which is to be served
             contemporaneously with the complaint and summons by a Deputy of the Sheriff’s Office or other
             proper Process Server, as approved by the Georgia Civil Practice Act, who is to effectuate service
             at the following address:

                                                Wal-Mart Stores East, LP
                                           RA: The Corporation Company (FL)
                                            106 Colony Park Drive Ste. 800-B
                                                 Cumming, GA 30040


                    Respectfully submitted this 5th day of October, 2021.



                                                          /s/ John S. O’Briant _____
                                                          Johnny G. Phillips
                                                          Georgia State Bar No. 382150
                                                          John S. O’Briant III
                                                          Georgia State Bar No. 133201
                                                          Attorney for Plaintiff


             Law Office of Johnny Phillips, PC




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             Jobriant@johnnyphillipslaw.com




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                                                                             CLERK OF STATE COURT
                                                                           FORSYTH COUNTY, GEORGIA
                                                                            21SC-1458-A
                 IN THE STATE COURT OF FORSYTH COUNTY               Judge Leslie Abernathy-Maddox
                                                                        NOV 17, 2021 12:07 PM
                            STATE OF GEORGIA

ANGELA MATHNEY as parent and/or
guardian of SERENITY WILLIAMS,                     Civil Action File No.
                                                   21SC-1458-A
             Plaintiff,
v.

WAL-MART STORES EAST, LP d/b/a
WAL-MART SUPERCENTER #556,
JOHN DOE & XYZ CORPORATION,

             Defendants.
                             /

                   CERTIFICATE REGARDING DISCOVERY

      Pursuant to Uniform State Court Rule 5.2, as amended, the undersigned

hereby certifies that the following discovery has been served upon all persons

identified in the Certificate of Service attached hereto and incorporated herein by

reference:

      Defendant's Responses to Plaintiff’s First Request for Admissions.

                                      McLAIN & MERRITT, P.C.

                                      /s/ Ernest L. Beaton, IV
                                      Ernest L. Beaton, IV
                                      Georgia Bar No. 213044
                                      Attorneys for Defendant
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      Case 2:21-cv-00256-SCJ Document 1-2 Filed 11/30/21 Page 55 of 55




                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing CERTIFICATE

REGARDING DISCOVERY has this day been filed and served upon opposing

counsel via Peachcourt E-File.

      This the 17th day of November, 2021.

                                    McLAIN & MERRITT, P.C.



                                    /s/ Ernest L. Beaton, IV
                                    Ernest L Beaton, IV
                                    Georgia Bar No. 213044
                                    Attorney for Defendant
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